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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

 ANDREW LYLES,

          Plaintiff,                          Case No. 19-10673
                                              Honorable Laurie J. Michelson
 v.

 KEITH PAPENDICK,

          Defendant.


                              ORDER STAYING CASE


         Andrew Lyles alleges that Dr. Keith Papendick was deliberately indifferent to

his medical needs while he was incarcerated within the Michigan Department of

Corrections. Papendick, who is in charge of reviewing requests to see non-prison

doctors, denied two requests from Lyles’ prison physician to send Lyles for a

colonoscopy. These denials occurred though Lyles continued to have blood in his stool

even after trying other therapies. Eventually, Papendick approved Lyles to receive a

colonoscopy, which resulted in Lyles being diagnosed with ulcerative colitis. So Lyles

sued Papendick (and others who have since been dismissed from the case) for

deliberate indifference to his serious medical needs under the Eighth Amendment.

Lyles’ claim against Papendick has survived summary judgment and is ready for

trial.

         However, on February 22, 2023, Papendick filed a suggestion of bankruptcy as

to Corizon Health. (ECF No. 87.) Papendick stated that he is an employee of Tehum

Care Services, Inc., which does business as Corizon Health. (Id. at PageID.1283.)
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Corizon has recently filed a voluntary petition for bankruptcy under chapter 11 of the

United States Bankruptcy Code in the United States Bankruptcy Court for the

Southern District of Texas. See In re Tehum Care Services, Inc., Chapter 11 Voluntary

Petition, No. 23-90086 (Feb. 13, 2023) (ECF No. 1). Because Papendick is insured

through Corizon, he states that the automatic stay that issued as a result of Corizon’s

bankruptcy petition covers this case too. (ECF No. 87, PageID.1284.)

      Lyles has responded to the suggestion of bankruptcy, arguing that the

automatic stay does not apply here because Papendick is not the debtor in the

referenced bankruptcy. (ECF No. 88.)

      This issue is not for this Court to decide. The bankruptcy court will determine

whether the automatic stay applies to cases like this one. Indeed, it has already begun

the process. The bankruptcy court has issued an order temporarily extending the

automatic stay through May 18, 2023 to certain litigation claims, including the one

at issue in this case. See In re Tehum Care Services, Inc., Order Regarding Debtor’s

Emergency Motion to Extend and Enforce the Automatic Stay, No. 23-90086 (Mar. 3,

2023) (ECF No. 118).

      Thus, pursuant to the bankruptcy court’s order, the case is stayed through May

18, 2023, and pending further order from the bankruptcy court that this case is no

longer covered by the automatic stay.

      SO ORDERED.

      Dated: March 8, 2023
                                        s/Laurie J. Michelson
                                        LAURIE J. MICHELSON
                                        UNITED STATES DISTRICT JUDGE

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